                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )       NO. 3:10-cr-00260
                                               )
       v.                                      )       JUDGE HAYNES
                                               )
ABDIFITH JAMA ADAN, et al                      )


MOTION IN LIMINE TO EXCLUDE PRIOR VICTIM WITNESS RAPE ACCUSATION


       The United States of America, by and through the undersigned, hereby files this motion in

limine seeking an order excluding Jane Doe One’s (JD1) sexual assault allegations against third

parties. Federal Rule of Criminal Procedure 412, the rape shield statue, as well as Sixth Circuit

precedent, bars defendants from testing a victim witness’ general credibility through the use of

the victim witness’s sexual assault allegations against third parties that the victim witness later

withdraws. On November 19, 2007, JD1 reported to her social worker that her uncle had

sexually assaulted her. Several months later, JD1 withdrew her allegation. To the extent that any

Defendant seeks to use JD1's prior allegations to attack her general credibility, such tactis are

proscribed.


       The Sixth Amendment guarantees a criminal defendant the right to confront witnesses

against him. See Davis v. Alaska, 415 U.S. 308, 315-16 (1974); Mayes v. Sowders, 621 F.2d

850, 855 (6th Cir. 1980). However, a trial court has the discretion to limit the scope of cross-

examination based on concerns about “harassment, prejudice, confusion of the issues, witness


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safety, or interrogation that is repetitive or only marginally relevant.” See King v. Trippett,192

F.3d 517, 524 (6th Cir. 1999) (citing Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)). In

this way, the Confrontation Clause “guarantees an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense

might wish.” Delaware v. Fensterer, 474 U.S. 15, 20, 106 S.Ct. 292 (1985).

       The recognition of cross-examination limitations is never more true than in cases

involving sexual misconduct. Federal Rule of Criminal Procedure 412 limits the admissibility of

evidence of a rape victim's past sexual behavior to three situations: when constitutionally

required, when relevant and more probative than prejudicial on the source of semen or injury,

and when relevant and more probative than prejudicial on the issue of consent. Fed. Rule Evid.

412; see United States v. Cardinal, 782 F.2d 34 (6th Cir. 1986). A victim witness’s other

allegations of sexual assault do not fall within Rule 412's exceptions.

       The Sixth Circuit has explicitly held that Rule 412 prohibits the defense from cross

examining a victim witness with the victim witness’ other allegations of sexual assault that the

witness later withdrew. United States v. Cardinal, 782 F.2d 34, 35-6 (6th Cir. 1986). In

Cardinal, defendant argued that the victim witness’s sexual assault allegations against other

family members, that the victim later withdrew, should be used to test the victim witness’s

credibility. The Sixth Circuit rejected defendant’s argument. Instead, the Sixth Circuit

recognized the policy considerations underlying Rule 412 and stated, Rule 412's “‘‘principal

purpose ... is to protect rape victims from the degrading and embarrassing disclosure of intimate

details about their private lives.” (Id. citing 124 Cong.Rec.H. 11944 (daily ed. Oct. 10, 1978)

(statement of Rep. Mann)).


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        In addition, the Sixth Circuit has also recognized that the Confrontation Clause does not

permit a defendant from using a victim witness’s other allegations of sexual assault to be used to

generally attack the victim witness’s credibility. Boggs v. Collins, 226 F.3d 728, 737-738 (6th

Cir. 2000) (finding cross-examination constitutionally compelled when it reveals witness bias or

prejudice, but not when it is aimed solely to diminish a witness's general credibility); accord

Vasquez v. Jones, 496 F.3d 564, 574 (6th Cir. 2007).

        Here, JD1's prior accusations of sexual assault do not fall with in any exception under

Rule 412. Moreover, both Cardinal and Boggs prohibit the use of JD1's prior allegations of rape,

particularly those against her uncle, to be used to attack JD1's general credibility. Accordingly,

the Government requests an order excluding any use of JD1's allegations of sexual assault against

third parties to attack her credibility generally.




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                              CERTIFICATE OF SERVICE

       I, hereby certify that a true copy of the forgoing was sent via the Court’s electronic filing

system or, if not registered, deposited in the United States mail to the following on this 4TH day

of February 2012.

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